  Case 1:21-cv-00633-MN Document 9 Filed 11/30/21 Page 1 of 2 PageID #: 46




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §             Case No.: 1:21-cv-00633-MN
                                      §
vs.                                   §             PATENT CASE
                                      §
TICKETLEAP, INC.,                     §
                                      §
      Defendant.                      §
_____________________________________ §

           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” and/or “STI”) files this

 Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

 without order of court by filing a notice of dismissal at any time before service by the adverse

 party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

 Defendant TicketLeap, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party

 to bear its own fees and costs.

 Dated November 30, 2021.                    Respectfully Submitted,

                                             /s/David W. deBruin
                                             David W. deBruin, Esq. (#4846)
                                             Gawthrop Greenwood, PC
                                             3711 Kennett Pike, Suite 100
                                             Wilmington, DE 19807
                                             302-777-5353
                                             ddebruin@gawthrop.com

                                             ATTORNEYS FOR PLAINTIFF




 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                   PAGE | 1
   Case 1:21-cv-00633-MN Document 9 Filed 11/30/21 Page 2 of 2 PageID #: 47




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on November 30, 2021. Parties
may access the foregoing through the Court’s system.


                                             /s/David W. deBruin
                                             David W. deBruin, Esq.




 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                  PAGE | 2
